                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           BRYSON CITY DIVISION
                                 2:13 cr 15-1


UNITED STATES OF AMERICA,                         )
                                                  )
Vs.                                               )              ORDER
                                                  )
JERRY FRANCIS PARKER,                             )
                                                  )
                  Defendant.                      )
____________________________________              )


       THIS MATTER has come before the undersigned pursuant to a Motion for Discovery

(#66) filed by counsel for Defendant. At the call of this matter, it appeared that counsel for

Defendant, Russell L. McLean, III, was present and Assistant United States Attorney Richard

Edwards was present on behalf of the Government. After hearing a portion of the motion, Mr.

McLean advised the Court that he wished to withdraw the Motion for Discovery without

prejudice. The Government had no objection.

                                          ORDER

       IT IS, THEREFORE, ORDERED that the Motion for Discovery (#66) is hereby

considered to be WITHDRAWN and rendered MOOT without prejudice.

                                                           Signed: November 26, 2013




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